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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA


        -against-
                                                                     12 Cr. 661 (SLT)

ALI YASIN AHMED,

                          Defendant.

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                     MEMORANDUM OF LAW IN SUPPORT OF
         DEFENDANT'S MOTION TO SUPPRESS HIS INVOLUNTARY STATEMENTS

                                                       ARGUMENT


    I. MOTION TO PRECLUDE THE GOVERNMENT FROM USING THE DEFENDANT'S
       STATEMENTS

        It is a long standing and fundamental principle that “a confession, in order to be admissible,

must be free and voluntary.” Bram v . United States, 168 U.S. 532, 542 (1897). A confession is

involuntary, and therefore inadmissible, if it is obtained by “techniques and methods offensive to due

process, or under circumstances in which the suspect clearly had no opportunity to exercise ‘a free and

unconstrained will.’ ” Oregon v. Elstad, 470 U.S. 298, 304, 105 S.Ct. 1285, 84 L.Ed.2d 222 (1985)

(citation and internal quotation marks omitted). “As with determining whether a defendant was in

custody, the inquiry into voluntariness is objective. It asks whether, based on the totality of

circumstances, “the government agents' conduct ‘was such as to overbear [a defendant's] will to resist

and bring about confessions not freely self-determined.’ ” United States v. Kaba, 999 F.2d 47, 51 (2d

Cir.1993) (quoting United States v. Guarno, 819 F.2d 28, 30 (2d Cir.1987)). Factors relevant to this

determination include “the type and length of questioning, the defendant's physical and mental
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capabilities, and the government's method of interrogation.” United States v. Okwumabua, 828 F.2d

950, 953 (2d Cir.1987); see Deskovic v. City of Peekskill, 894 F.Supp.2d 443, 457–58 (S.D.N.Y.2012).

The government must prove that a confession is voluntary by a preponderance of the evidence.

Colorado v. Connelly, 479 U.S. 157, 168, 107 S.Ct. 515, 93 L.Ed.2d 473 (1986).

       18 U.S.C. § 3501 governs the admissibility of confessions in federal criminal prosecutions.

Subsection (a) of section 3501 states that a confession is admissible in evidence if it is “voluntarily

given.” 18 U.S.C. § 3501 (a). Subsection (b) lists the following five factors to be considered by the

trial judge in determining the issue of voluntariness:


       (1) the time elapsing between arrest and arraignment of the defendant making
           the confession, if it was made after arrest and before arraignment,

       (2) whether such defendant knew the nature of the offense with which he was
           charged or of which he was suspected at the time of making the confession,

       (3) whether or not such defendant was advised or knew that he was not required
           to make any statement and that any such statement could be used against
           him,

       (4) whether or not such defendant had been advised prior to questioning of his
           right to the assistance of counsel; and

       (5) whether or not such defendant was without the assistance of counsel when
           questioned and when giving such confession.

18 U.S.C. § 3501 (b). In addition to providing for the exclusion of involuntary confessions, 18 U.S.C. §

3501 includes another distinct basis for excluding a confession. Under 18 U.S.C. § 3501 (c),

confessions must also be excluded if the detainee is not brought before a magistrate or other officer

empowered to commit persons charged with offenses against the laws of the United States within six

hours after “arrest or other detention”, and the delay is not found to be reasonable. 18 U.S.C. § 3501

(c); see also United States v. Perez, 733 F.2d 1026, 1031 (2d Cir. 1984) (“[S]ection 3501 advances two

distinct bases for excluding a confession. The first, as stated in subsection (a), is a lack of

voluntariness. The second, according to subsection (c), is delay of greater than six hours found not to

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be reasonable.” See also Rule 5 (a)(1)(B) of the Federal Rules of Criminal Procedure (“A person

making an arrest outside the United States must take the defendant without unnecessary delay before a

magistrate judge, unless a statute provides otherwise.”)


           The suppression of statements that are obtained as a result of torture is also required under the

United Nations Convention Against Torture and Other Cruel, Inhuman or Degrading Treatment or

Punishment (June 26, 1987) (the “Convention”), to which the United States is a signatory.1 Under

Article 15 of Part I of the Convention,


           Each State Party shall ensure that any statement which is established to have been made
           as a result of torture shall not be invoked as evidence in any proceedings, except against a
           person accused of torture as evidence that the statement was made.


United Nations Convention Against Torture, Part I, Article 15.


           Mr. Ahmed made three sets of involuntary statements. The first set, made to Djiboutian law

enforcement, was the product of torture. The second and third sets of statements were made,

respectively, to unidentified agents of the United States government who did not advise Mr. Ahmed of

his rights, and to F.B.I agents who advised Mr. Ahmed of his rights. The government is seeking only to

use the third state of statements, under the pretense that these statements were voluntarily made

because Mr. Ahmed signed an “Advice of Rights” form. These statements must be excluded, as the

coercion from the first interrogation, together with the conditions and circumstances of his

confinement, clearly overbore Mr. Ahmed’s will to consider whether or not he had a choice other than

to cooperate with these interrogations.

           “When a prior statement is actually coerced, [(1)] the time that passes between confessions,

[(2)] the change in place of interrogations, and [(3)] the change in identity of the interrogators all bear

on whether that coercion has carried over into the second confession.” Elstad, 470 U.S. at 310, 105

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    The Convention was signed by the United States on April 18, 1988 and ratified on October 21, 1994.
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S.Ct. 1285. Here, given that Mr. Ahmed's confession to the Djiboutian authorities was coerced, each of

the three Elstad factors favors suppressing his later statements to the U.S. government.

       Mr. Ahmed’s statements to U.S .government agents were made in the days and weeks following

his torture by Djiboutian officials. Throughout these interrogations, Mr. Ahmed remained in the

custody of his Djiboutian torturers, imprisoned in the same jail cell, without contact with his family or

consulate and without any semblance of due process of law. Throughout these interrogations, one of

Mr. Ahmed’s torturers was present and in the room, monitoring the process and the information Mr.

Ahmed shared. As long as Mr. Ahmed remained in Djiboutian custody, the psychological torture

continued and the threat of physical torture, and even death, was always present. If Mr. Ahmed was

ever to get out of Djiboutian custody, the only option presented to him was to cooperate with the U.S.

government. For this reason, his statements to the F.B.I agents were involuntary and must be

suppressed.

       The fact that Mr. Ahmed’s subsequent statements to F.B.I. agents was made after he signed an

“Advice of Rights” form, does not, under all of the countervailing circumstances, render these

statements voluntary. When the government contends that a defendant has voluntarily waived his

Miranda rights, it must prove the voluntariness of the waiver by a preponderance of the evidence.

Missouri v. Seibert, 542 U.S. 600, 124 S.Ct. 2601, 2608 n. 1, 159 L.Ed.2d 643 (2004) (citing Colorado

v. Connelly, 479 U.S. 157, at 169, 107 S.Ct. 515, 93 L.Ed.2d 473 (1986). The voluntariness test

governing a Miranda waiver is essentially the same test applicable to the due process inquiry

concerning the voluntariness of confessions themselves. A defendant's decision to relinquish his

Miranda rights must be voluntary, knowing and intelligent. Thus, relinquishment

       must have been voluntary in the sense that it was the product of a free and deliberate
       choice rather than intimidation, coercion or deception. Second, the waiver must have
       been made with full awareness of both the nature of the right abandoned and the
       consequences of the decision to abandon it. Only if the ‘totality of the circumstances
       surrounding the interrogation’ reveal both an uncoerced choice and the requisite level of
       comprehension may a court properly conclude that Miranda rights have been waived.
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Moran v. Burbine, 475 U.S. 412, 421, 106 S.Ct. 1135, 89 L.Ed.2d 410 (1986) (citations omitted); see

also United States v. Male Juvenile, 121 F.3d 34, 38 (2d Cir.1997). Factors relevant to the totality of the

circumstances are: the characteristics of the accused, such as his experience, background, age and

intelligence; the conditions of interrogation; and police conduct, such as physical abuse, handcuff

restraint, and psychologically coercive tactics. Nelson v. Walker, 121 F.3d 828, 833 (2d Cir.1997);

Green v. Scully, 850 F.2d 894, 901 (2d Cir.1988)

       In the present case, at the time he was presented with the “Advice of Rights” form, Mr. Ahmed

had already made two involuntary statements without the benefit of counsel. Before the F.B.I.'s arrival,

Mr. Ahmed had been held incommunicado from his family and country for over a month. During that

time,, he was kept in the same unbearably hot cell, clothed in the same dirty t-shirt and underpants,

where he was fed a meager diet and drank water from the toilet that left him sickened and in pain. He

was brutally tortured, and witnessed the brutal torture of others. His detention was apparently

indefinite, and without recourse. He had not been formally charged, and did not know if there were any

charges pending against him. He had not seen a judge or been provided with an attorney. These

torturous and coercive conditions persisted during and after Mr. Ahmed's interrogation by the F.B.I.,

and did not abate until Mr. Ahmed was officially transferred into United States custody.

       When the F.BI. arrived, Mr. Ahmed asked them to make good on the rights contained in the

“Advice of Rights” form and provide him with an attorney. The agents told him that, according to the

Djiboutians, no attorney was available. Upon learning that the provision of an attorney was under the

control of his Djiboutian captors, who had already tortured him on several occasions, Mr. Ahmed

understood that he had no real freedom of choice. Faced with the possibility that the F.B.I. agents

would leave him in the custody of the Djiboutians if he did not sacrifice his rights and speak to them,

Mr. Ahmed agreed to continue the interrogation without an attorney.


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       The statements Mr. Ahmed made were involuntary and the product and must be suppressed on

that basis under 18 U.S.C § 3501(a), Oregon v. Elstad and Miranda v. Arizona. The statements must

also be suppressed as they were obtained during a period of unreasonable delay in bringing the

defendant before a magistrate or judge after arrest, detention, or indictment in violation of Federal Rule

of Criminal Procedure 5(a)(1)(B) and 18 U.S.C. § 3501(c). Finally, the statements must be suppressed

as they were obtained in violation of Part I, Article 15, of the Convention Against Torture and Other

Cruel, Inhuman or Degrading Treatment or Punishment (June 26, 1987), to which the United States is a

signatory.


   II. MOTION FOR AN ORDER DIRECTING THE GOVERNMENT TO IDENTIFY ANY AND
       ALL WITNESSES AND EVIDENCE THAT THEY LEARNED OF DURING THE
       INTERROGATION OF THE DEFENDANT

       Pursuant to Rule 12(b)(4) and Rule 16 of the Federal Rules of Criminal Procedure, Mr. Ahmed

respectfully requests that the Court issue an order directing the government to specify in detail any

witness(es) or evidence about which it became aware, either directly or indirectly, through the unlawful

interrogation of the defendant that is described above. This information is necessary to enable the

defense to move for the exclusion of the testimony of such witness(es) and the suppression of evidence,

should the government elect to call such witness(es) or offer such evidence at trial.




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Dated:    September 18, 2014
          Brooklyn, New York

                                  Yours, etc.




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